             Case 1:15-cv-00614-NBF Document 4 Filed 06/19/15 Page 1 of 4

                                  oRfotruAr
            lin tbt @nite! srtstes {.ourt of frlers[                        @lsimg
                                               No. l5-614C
                                          (Filed: June 19,2015)                    FILED
                                        NOT FOR PUBLICATION
                                                                                  JUN t I 20t5
                                                                                U.S. COURT OF
DEMETRIUS J. ANDERSON,                                                       reoennl cuetus
                                                       Pro Se Litigation; Lack of Subject
                   Pro Se Platntiff ,                  Matter Jurisdiction; Due Process;
                                                       Review of State Court Decisron


THE UNITED STATES,

                           Defendant.




        OPINION DISMISSING PLAINTIFF'S COMPLAINT FOR LACK OF
                            JURISDICTION

FIRESTONE, -/zdge.

         Plaintiff Demetrius Anderson files this p1q-!e complaint challenging what he

characterizes as an illegal detention stemming from a burglary conviction in a Florida

state court. For the reasons stated below, the complaint is now DISMISSED the for lack

of   subj ect-matter   jurisdiction.'

         ln 2011, Mr. Anderson was convicted of burglary with intent to commit battery

and sentenced to ten years imprisonment. Mr. Anderson, then represented by counsel,

appealed his conviction Florida's First District Court of Appeals in 2012, claiming that


I The court notes that the
                         plaintilfhas not paid a filing fee or filed a motion to proceed in lbrma
pauperis. However, in light of the fact that this case is now dismissed for lack ofjurisdiction, the
hlins fee is waived.
              Case 1:15-cv-00614-NBF Document 4 Filed 06/19/15 Page 2 of 4




there was insufficient evidence to support a conviction and, in the alternative, that the

jury instructions were improper. The Florida appellate court affirmed his conviction psl

curium and without written opinion. Anderson v. State, 95 So. 3d 216,2012              \hl,

2580546 (Fla. 1st. DCA 2012). Mr. Anderson's attomey then moved in the same court

for   a   rehearing and requested a written opinion, but the motion was denied per curium

and without written       opinion. Id. The Supreme Court of the United States denied Mr.

Anderson's      p1q_Se   petition for certiorari in 2013. Anderson v. Florida, 133 S. q. 1274,

1275 (2013).

           In his complaint before this court, Mr. Anderson maintains that the jury

instructions at his trial were improper. He further argues that the fact that he never

received a written opinion from a Florida appellate court was an unconstitutional denial

of his right to due process. He argues that based upon these errors, his continued

incarceration is illegal and unconstitutional.

           Before proceeding to the issues presented in Mr. Anderson's complaint, the court

must first determine whether it possesses jurisdiction to do so. Whether the court

possesses     jurisdiction to decide the merits of   a case is a threshold matter the court must


decide. See PODS. Inc. v. Porta Stor. Inc., 484 F.3d 1359, 1364 (Fed. Cir. 2007) (citing

Steel Co. v. Citizens for a Better Env't, 523 U.S. 83, 94-95 (1998)). Jurisdiction is a

threshold matter because a case cannot proceed         ifa   court lacks jurisdiction to hear   it.   See


Arbaueh v. Y & H Corp., 546 U.S. 500, 514 (2006) ("[W]hen a federal court concludes

that it lacks subject-matter jurisdiction, the court must dismiss the complaint in its

entirety." (citation omitted)).
            Case 1:15-cv-00614-NBF Document 4 Filed 06/19/15 Page 3 of 4




         When considering whether to dismiss a complaint for lack ofjurisdiction, a court

accepts "uncontroverted factual allegations as tnre for purposes of the motion. Banks v.

United States, '741 F.3d 1268, 1277 (Fed. Cir. 2014) (citing Gibbs v. Buck, 307 U.S. 66,

72 (1939)). A gq_!e plaintiff, such as Mr. Anderson, is entitled to a liberal construction

of the pleadings. See. e.g., Erickson v. Pardus,    55   I U.S. 89,94 (2007). However, despite

being held to a "less stringent standard than that ofa plaintiff represented by an attomey,"

a   plq_le plaintiff still "bears the burden ofestablishing the Court's jurisdiction by a

preponderance ofthe evidence." Bricke), v. United States, 116 Fed. Cl.71,75 (2014)

(quoting Riles v. United States, 93 Fed.Cl. 163,165 (2010). If Mr. Anderson cannot

establish jurisdiction, his complaint must be dismissed under Rule 12 of the Rules of the

United States Court of Federal Claims ("RCFC'). This rule states that if the court at any

time finds it lacks subject matter jurisdiction over the claims before it, the court must

dismiss the action. RCFC l2(hX3).

         Mr. Anderson's complaint argues that his detention is based on an unconstitutional

conviction and appeals process in Florida state courts. However, it is well settled that

this court "does not have jurisdiction to review and overtum criminal convictions." Reed

v. United States, 25 F. App'x 903,904 (Fed. Cir. 2001) (quoting Lott v. United States, I I

Cl. Ct. 852, 853 (1987)); see Dethlefs v. United States, 60 Fed. Cl. 810, 814 (2004)

(holding that the Court ofFederal Claims does not have "authority to review and overturn

convictions entered by a court of competent j urisdiction.    ").   This court therefore "has no

authority to re-examine in detail the facts surrounding a conviction or imprisorunent."

Zakiya v. United States, 79 Fed. Cl. 231, 235 (2007), afl d,277 F. App'x 985 (Fed. Cir.
          Case 1:15-cv-00614-NBF Document 4 Filed 06/19/15 Page 4 of 4




2008) (quoting Lott, I I Cl. Ct. at 853); see also Robinson v. United States,230 F,3d 1382

(Fed. Cir. 2000) (finding the court lacked jurisdiction over plaintiff s unjust

imprisonment claim arising out of his conviction in a state court).

       Even if the court did have jurisdiction to review a state actions in a criminal case,

it would still lack jurisdiction to decide the merits of Mr. Anderson's case. Mr. Anderson

argues that the alleged errors in the Florida courts violated his right to due process under

the Constitution. However. it is well-settled law that claims under the Due Process

Clauses ofthe Fifth or Fourteenth Amendments do not confer jurisdiction on the Court       of

Federal Claims. Flowers v. United States,32l F. App'x 928, 934 (Fed. Cir. 2008)

(holding that the court offederal claims coun lacks jurisdiction over due process claims

(citing James v. Caldera, 159 F.3d 573, 581 (Fed. Cir. 1998))); LeBlanc v. United States,

50 F.3d 1025, 1028 (Fed. Cir. 1995) (holding that the Fifth and Fourteenth Amendment

Due Process Clauses are not sufficient bases for iurisdiction in the Court ofFederal

Claims because neither clause is a money-mandating provision)).

       In sum, Mr. Anderson has failed to establish jurisdiction in this court based on the

allegations made in his complaint. Therefore, Mr. Anderson's claims must be dismissed

underRCFC l2(hX3).



       IT IS SO ORDERED.




                                                                      B. FIRESTONE
